









02-10-247-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00247-CV 

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  Lisa Young
  
  
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  APPELLANT
  
 
 
  
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  V.
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  David Kenneth Vaughan
  
  
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  APPELLEE 
  
 


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FROM THE
78th District Court OF Wichita
COUNTY

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MEMORANDUM OPINION[1] AND
JUDGMENT

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On October
7, 2010, we notified appellant that her brief had not been filed as required by
Texas Rule of Appellate Procedure 38.6(a).&nbsp;
See Tex. R. App. P. 38.6(a).&nbsp;
We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response showing grounds for continuing the appeal.&nbsp; See Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's
brief has not been filed, we dismiss the appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

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PER CURIAM

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PANEL:&nbsp; WALKER, MCCOY, and
MEIER, JJ.&nbsp; 

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DELIVERED:&nbsp; November 4, 2010








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[1]See Tex. R. App. P. 47.4.







